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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                       )
                                             )
WESLEY McGUIRE,                              )
KIMBERLY McGUIRE,                            )               Case No.: 19-11993 TBM
                                             )               Chapter 7
Debtor.                                      )

              RESPONSE TO MOTION FOR APPOINTMENT OF
   REALTOR, KELLER WILLIAMS PARTNERS REALTY, & FOR APPOINTMENT
                    OF BK GLOBAL REAL ESTATE

       COME NOW the Debtors through counsel and in response to the trustee's motions state as
follows:

         1.   The Debtors agree in principle that the trustee has an interest in the property known
              as 12635 Halleluiah Trail, Elbert, CO 80106. The debtors acknowledge that this
              property is property of the estate pursuant to 11 USC § 541.

         2.   The debtors acknowledge that Keller Williams Partners Realty is an experienced
              realtor with experience selling properties in the area of El Paso County, Colorado.

         3.   The debtors object to the allegation that the debtors have failed to claim a homestead
              exemption. The debtors filed this case on March 19, 2019. At that time they filed
              schedules which included a Schedule C. On that Schedule C the debtors claimed a
              homestead exemption in the property in question of $75,000 pursuant to CRS §§ 38-
              41-201 & 38-41-202. Accordingly, before the property can be sold the trustee must
              receive a price sufficient to warrant going forward with the sale. Please see a copy
              of the debtors’ Schedule C here attached as Exhibit A.

         4.   Prior to the filing of this case, the debtors obtained from a local realtor a Certified
              Market Analysis. That document suggests that the property in question, because of
              its age and condition, will bring a sale price of $353,000.

         5.   According to the debtors’ Schedule D, there was owed to Freedom Mortgage, at the
              time of filing, the holder of the first mortgage, a balance of $295,994. Accordingly,
              the debtors do not expect that appointment of a realtor will benefit the estate. Please
              see the chart set forth below:

 Item                   Value of Home or Amount of Lien                 After Deduction of Lien
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 Residence                $353,000 per Schedule A and per attached      $353,000
                          Exhibit B
 Freedom Mortgage         1st Mortgage of $295,994.00 per the           $57,006.00
                          debtors’ Schedule D
 Equity After Deduction   Less applicable Homestead Exemption of        (17,994.00)
 of Homestead             $75,000.00
 Exemption

 Deduction for            Less realtor fees of 6% according to the      (39,174.00)
 realtor fees             motion filed or $21,180

        6.      The trustee has also requested the appointment of BK Global Real Estate to attempt
                to negotiate a release of the mortgage at a rate below the amount which is owed. The
                trustee has admitted in his pleading that the above described mortgage is fully
                secured by the value of the property in question. The trustee has not explained why
                the mortgage company should compromise its claim or what circumstances exist
                which warrant such a disposition.

        7.      Further, given the nature of the engagement of BK Global Real Estate, counsel for
                the holder of the first mortgage must also receive notice of the motion. Counsel for
                the debtors has reviewed the Certificate of Service and it does not appear that this
                necessary party has received proper notice of the motion. Accordingly, the motion
                must be denied as it relates to BK Global Real Estate.

        8.      Further, although the motions in general are academically interesting, they do not
                appear to be realistic or feasible given the value of the property. Accordingly, the
                debtors request that both motions be denied.

                Respectfully submitted this 25th day of June, 2019.

                                              Law Office of Stephen H. Swift, P.C.

                                              __/s/ Stephen H. Swift_____________
                                              Stephen H. Swift, #14766
                                              Attorney for Debtors/ Respondents
                                              733 East Costilla Street, Suites A and B
                                              Colorado Springs, CO 80903
                                              (719) 520-0164
                                              (719) 520-0248 fax

                                  CERTIFICATE OF MAILING

       I hereby certify that a true and correct copy of the foregoing was mailed postage prepaid by
placing the same in the U.S. Mails addressed to the following at their respective addresses on the
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25th day of June, 2019:

 VIA EMAIL TO:                        VIA ECF TO:

 todaymattersmac@gmail.com            Kevin P. Kubie, Esq.
                                      Chapter 7 Trustee
 Wesley J. McGuire                    PO Box 8928
 Kimberly J McGuire                   Pueblo, CO 81008
 12635 Halleluiah Trail
 Elbert CO 80106
 VIA ECF TO:                          EFILED:

 Office of the US Trustee             Clerk, US Bankruptcy Court
 1961 Stout Street
 Suite 12-200
 Denver, CO 80294


                                     /s/ Stephen H. Swift
